              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                  CRIMINAL CASE NO. 1:09cr26-2


UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                  vs.                     )           ORDER
                                          )
                                          )
CHARLES EDWARD DEAN, JR.                  )
                                          )

      THIS MATTER is before the Court on the Defendant’s Motion to

Reconsider [Doc. 446], filed April 25, 2012.

      On April 3, 2012, this Court denied the Defendant’s motion for a

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) based on the recent

Amendment to the Sentencing Guidelines with regard to crack cocaine

offenses. [See Order, Doc. 439]. At the time of his sentencing, the Defendant

was found to be responsible for between 50 and 150 grams of cocaine base.

Defendant argues that in light of the Fair Sentencing Act (FSA) that this

places him in the category for a five year rather than a ten year mandatory

minimum sentence, because this quantity is at least 28 but not more than 280

grams.    Defendant, however, is incorrect.       The FSA does not apply

retroactively to drug crimes committed prior to its passage on August 3, 2010.

United States v. Bullard, 645 F.3d 237, 248 (4 th Cir. 2011). Defendant’s crime



   Case 1:09-cr-00026-MR-WCM     Document 455    Filed 05/21/12   Page 1 of 2
pre-dates the FSA. Hence the pre-FSA mandatory minimums apply. For this

reason, the minimum sentence for which the Defendant is eligible is 120

months, just as it was before Amendment 750. Since Defendant’s sentence

was previously 120 months, and he is not eligible for a sentence of less than

that, he is not eligible for relief under Amendment 750. Therefore, the Court

concluded that the Amendment had no impact on the Defendant’s sentence.

[Id.]. There is nothing in the Defendant’s present motion that would amend

this classification.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Reconsider [Doc. 446] is DENIED.

      IT IS SO ORDERED.

                                      Signed: May 21, 2012




                                     2


   Case 1:09-cr-00026-MR-WCM    Document 455     Filed 05/21/12   Page 2 of 2
